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WESTERN DISTRJCT oF TENNESSEE ` /§?f /‘

Eastcrn Division JO/V

JUDGMENT IN A CIVIL CASE
PEGGY HICKS, ETAL.,
V.

OTHA R. WHITAKER, and CASE NUlVfBER: 1203-1324-T/An
LANDSTAR RANGER, INC.,

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

lT |S ORDERED AND ADJUDGED that in compliance with the Acceptance of
Offer of Judgment filed in the above-styled matter on 7/14/2005, Judgment is hereby
entered in favor of Plaintiff in the amount of $55,000.00, along with costs accrued in this
action.

APPROVED:

@WM/ZS»M

JA S D. TODD
TED STATES DISTRICT JUDGE

THOMAS M .GOULD

 

 

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This document entered on the docket sheet in compliance

with Rule 58 and/or?s(a) FRcP on l , § §§ l !)5 .

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 1:03-CV-01324 Was distributed by faX, mail, or direct printing on
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Honorable S. Anderson
US DISTRICT COURT

